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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 PRINCIPAL LIFE INSURANCE
 COMPANY,

                Plaintiff/Stakeholder,        Case No. 2:21-cv-10828-RHC-EAS

 v.                                             Hon. Robert H. Cleland
                                             Mag. Judge Elizabeth A. Stafford
 MITCHELL COTTO, JOSHUA
 PINTRICK, THE ESTATE OF
 ALFREDO RAMOS COTTO and
 RIVERSIDE CHAPEL SIMPSON-
 MODETZ FUNERAL HOME, INC.,

           Defendants/Claimants.
_________________________________________________________________/

 Edna S. Kersting (IL6277775)             Adam G. Taub (P48703)
 Wilson Elser LLP                         Adam G. Taub & Associates
 Attorneys for Plaintiff Principal Life   Consumer Law Group, PLC
 Insurance Company                        Attorney for Joshua Pintrick
 55 West Monroe Street, Suite 3800        17200 West 10 Mile Rd, Suite 200
 Chicago, Illinois 60603                  Southfield, MI 48075
 (312) 821-6162                           (248) 746-3790
 Edna.Kersting@wilsonelser.com            adamgtaub@clgplc.net

Mitchell Cotto
2500 Mann Road #421
Clarkston, MI 48346
__________________________________________________________________/

               STIPULATED FINAL DECREE OF INTERPLEADER
                      AND ORDER OF DISBURSEMENT

        This cause coming before this Court on the Parties’ Stipulation for

disbursement of funds and entry of a Final Decree of Interpleader, due notice having

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been given, all parties having been consulted and the Court being fully advised in

the premises:

        THE COURT FINDS AS FOLLOWS:

    1. This Court has subject matter jurisdiction of this case.

    2. This Court has personal jurisdiction over all the parties.

    3. Incident to Alfredo Ramos Cotto’s (“Decedent”) employment at Total

        Armored Car Service, Inc., he participated in its employee welfare benefit

        plan and enrolled for group life insurance coverage in the amount of

        $60,000.00 funded by Principal Life pursuant to the terms of group policy No.

        GL 1042393 (“Group Policy”) issued to Total Armored Car Service, Inc.

        Decedent designated the Defendants/Claimants as primary beneficiaries in

        equal parts.

    4. On or about August 19, 2019, the Decedent died.

    5. Under the terms of the Policy, and on account of the death of Decedent, whose

        life was insured under the Group Policy, Principal Life became obligated to

        pay the sums due under the Group Policy in the total amount of $60,000.00

        (“Proceeds”).

    6. Defendants/Claimants have asserted claims to the Proceeds, but due to an

        ongoing homicide investigation into the involvement of the two beneficiaries

        in Decedent’s death by the Oakland County Sheriff’s Department, Principal


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        Life could not safely pay the Proceeds without exposing itself to multiple

        litigation or multiple liability or both.

    7. Principal Life brought this interpleader action on April 13, 2016. (R. 1)

        Defendant/Claimant Cotto filed an Answer to the Complaint on June 22, 2021

        (R. 9) and Defendant Pintrick filed an Answer on May 9, 2022. (R. 26) Neither

        Riverside nor the Estate filed an appearance nor a responsive pleading or any

        other document and the Clerk of Court entered a default against Riverside on

        August 5, 2021. (R. 14)

    8. On July 27, 2021, the Court granted Principal Life’s motion to deposit the

        Proceeds in the total amount of $60,000.00 with the court (R. 11) and on

        August 30, 2021, the Court received the deposit.

    9. On September 22, 2021, Principal Life filed a motion for discharge and

        dismissal, attorneys’ fees and costs, which is unopposed. (R. 22)

    IT IS HEREBY ORDERED:

    1. That Principal Life Insurance Company be awarded its attorneys’ fees and
       costs incurred in the prosecution of this matter in the amount of $5,450.11
       from the Proceeds deposited with the Court in one check made payable to
       ”Principal Life Insurance Company” and mailed to its counsel of record:

               Edna S. Kersting
               Wilson Elser Moskowitz
               Edelman & Dicker LLP
               55 West Monroe Street
               Suite 3800
               Chicago, Illinois 60603


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    2. That Riverside Chapel Simpson-Modetz Funeral Home, Inc. be awarded
       $9,625.25 from the Proceeds deposited with the Court in one check made
       payable to “Riverside Chapel Simpson-Modetz Funeral Home” and mailed to:

               Riverside Chapel Simon-Modetz Funeral Home, Inc.
               5630 Pontiac Lake Road
               Waterford, Michigan 48327

    3. That the balance of the Proceeds remaining after the payments under 1. and 2.
       is split equally between Defendants/Claimants Mitchell Cotto and Joshua
       Pintrick as follows:

               a. One check in the amount of $22,462.32 plus 50% of the accrued
                  interest, payable to “Mitchell Cotto” and mailed to:

                 Mitchell Cotto
                 2500 Mann Road #421
                 Clarkston, MI 48346

               b. One check in the amount of $22,462.32 plus 50% of the accrued
                  interest, payable to “Adam G. Taub & Associates Consumer Law
                  Group, PLC c/o Joshua Pintrick” and mailed to
                  Defendant/Claimant Joshua Pintrick’s counsel of record:
                 Adam G. Taub
                 Adam G. Taub & Associates
                 Consumer Law Group, PLC
                 17200 West 10 Mile Rd, Suite 200
                 Southfield, MI 48075

    4. It is hereby Ordered that the funds be disbursed forthwith.

    5. That Principal Life Insurance Company is discharged of and from any and all
       liability for any Proceeds payable on account of the death of Alfredo Ramos
       Cotto.

    6. That Defendants/Claimants Mitchell Cotto, Joshua Pintrick and Riverside
       Chapel Simpson-Modetz Funeral Home, Inc., are enjoined from instituting or
       prosecuting against Principal Life Insurance Company in a proceeding in any
       state or federal court or administrative tribunal affecting the Proceeds due

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        under the Policy and on account of the death of Alfredo Ramos Cotto as well
        as relative to any of the claims that were or could have been raised in this
        matter, and that said injunction issue without bond or surety.

    7. That this matter and all claims are dismissed with prejudice.




Dated: June 24, 2022                          BY THE COURT:



                                         s/Robert H. Cleland
                                       United States District Court Judge




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Agreed as to form and content:

Mitchell Cotto, Defendant

By:     /s/ Mitchell Cotto (with permission)
        Mitchell Cotto
        2500 Mann Road #421
        Clarkston, MI 48346
        Email: mitchcotto@yahoo.com


Joshua Pintrick, Defendant

By:     /s/ Adam G. Taub (with permission)
        Adam G. Taub
        Adam G. Taub & Associates
        Consumer Law Group, PLC
        17200 West 10 Mile Rd, Suite 200
        Southfield, MI 48075
        Tel.: (248) 746-3790
        Email: adamgtaub@clgplc.net


Principal Life Insurance Company, Plaintiff

By:     /s/ Edna S. Kersting
        Edna S. Kersting
        Wilson, Elser, Moskowitz, Edelman & Dicker, LLP
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